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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-370V
                                          UNPUBLISHED


    ANNE MARIE BEACHEL,                                         Chief Special Master Corcoran

                         Petitioner,                            Filed: June 28, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Andrew Henning, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On April 1, 2020, Anne Marie Beachel filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) resulting from the adverse effects of an influenza (flu) vaccination
received on October 9, 2017. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On April 14, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On June 27, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $102,500.00. Proffer at
1. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $102,500.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under Section
15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                 THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


ANNE MARIE BEACHEL,

                      Petitioner,

v.                                                   No. 20-370V (ECF)
                                                     Chief Special Master Corcoran
SECRETARY OF HEALTH AND                              SPU
HUMAN SERVICES,

                      Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On March 28, 2022, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. ECF No. 28. Thereafter, on April 14, 2022,

Chief Special Master Corcoran issued a Ruling on Entitlement, finding that petitioner was

entitled to vaccine compensation for her Shoulder Injury Related to Vaccine Administration

(“SIRVA”). ECF No. 29.

I.     Items of Compensation

       A.     Pain and Suffering

       Respondent proffers that petitioner should be awarded $102,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       This amount represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). Petitioner agrees.
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II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $102,500.00, in the form of a check payable to petitioner. Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                HEATHER L. PEARLMAN
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                DARRYL R. WISHARD
                                                Assistant Director
                                                Torts Branch, Civil Division

                                                /s/ ANDREW J. HENNING
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DATED: June 27, 2022




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